           Case 1-18-45264-cec         Doc 51      Filed 03/15/19       Entered 03/15/19 15:01:59




                                                                                       1775 Wehrle Drive, Suite 100
                                                                                       Williamsville, New York 14221
                                                                                       Phone (716)204-1700
                                                                                       Fax (716)204-1702
                                                                                       http://www.GrossPolowy.com/




                                                 March 15, 2019

Chambers, Hon. Carla E. Craig
United States Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East
Brooklyn, NY 11201

Re:            Janet Howard AKA Janet Loretta Howard
Case No.       18-45264-cec
Loan No.       ...6297

Dear Hon. Carla E. Craig,

       Please allow this letter to serve as a written status report, submitted on behalf of LOANCARE, LLC (the
"Secured Creditor") pursuant to the Eastern District of New York Loss Mitigation Program Procedures.

         The Debtor was denied loss mitigation options on March 11, 2019. At the request of Debtor’s Counsel
this firm is in the process of filing a detailed denial letter.

       If there are any questions, please feel free to contact me directly at 716-253-6200.

                                                         Very truly yours,

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                                                         By:      /s/: Deborah Turofsky, Esq.

cc.    ECF and Email
       Steven Amshen, Esq.
